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                          UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF MARYLAND
                                 (Northern Division)

MIKO SQUIRE                                 *

       Plaintiff,                           *

v.                                          *       Civil Action No.: 1:17-cv-03597 MJG
                                                    Hon. Marvin J. Garbis
FEDEX FREIGHT, INC.                         *

       Defendant.

               *      *      *       *      *       *      *       *      *

    MEMORANDUM OF POINTS AND AUTHORITIES IN SUPPORT OF DEFENDANT
      FEDEX FREIGHT, INC.’S PARTIAL MOTION TO DISMISS PLAINTIFF’S
                         AMENDED COMPLAINT

               Plaintiff Miko Squire filed an Amended Complaint against FedEx Freight, Inc.

(“FedEx”). Plaintiff’s sole count in the Amended Complaint alleges discrimination and retaliation

based on gender, gender identity, and/or sexual orientation under the Maryland Fair Employment

Practices Act, State Gov’t §§ 20-601, et. seq. (“MFEPA”). FedEx seeks dismissal1 of Plaintiff’s

retaliation and sexual orientation claims as exceeding the scope of the EEOC charge filed by

Plaintiff. (EEOC charge is attached hereto as Ex. A).2




1
  FedEx is contemporaneously filing its Answer to Plaintiff’s Amended Complaint as to the
claims it is not moving to dismiss.
2
  The Court may consider the EEOC charge without converting the motion to dismiss into one
for summary judgment. Garrison v. McCormick & Co., 2010 U.S. Dist. LEXIS 64920, at *4 n.2
(D. Md. June 30, 2010) (Judge Motz). The Amended Complaint alleges that Plaintiff exhausted
his administrative remedies and attached to it is a copy of the Right to Sue arising out of the
EEOC charge. (Amended Complaint at ¶ 18 and Exhibit 1 thereto). The EEOC charge is not
attached but it is clearly integral to the allegations in the Amended Complaint.
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I.     STATEMENT OF FACTS3

               Plaintiff, who was born a female but has lived his entire adult life as a male, is a

former employee of FedEx who was terminated from his job as a truck driver in or about March

2017. (Amended Complaint at ¶¶ 3-4, 6, 23). Plaintiff received a Right to Sue letter from the

EEOC dated August 10, 2017. (Id. at ¶ 18 and Ex. 1 thereto).

               In his Amended Complaint, Plaintiff claims that FedEx discriminatorily and

retaliatorily terminated him based upon his gender identity, gender, and/or sexual orientation. (Id.

¶¶ 23-24). Plaintiff’s sole count in the Amended Complaint alleges that this discrimination and

retaliation violated the Maryland Fair Employment Practices Act. (Id. at Count One).

II.    STANDARD OF REVIEW

               Rule 8(a)(2) of the Federal Rules of Civil Procedure requires that a pleading contain

a “short and plain statement of the claim showing that the pleader is entitled to relief.” Ashcroft v.

Iqbal, 556 U.S. 662, 677-78 (2009). Rule 8 requires that “the plaintiff . . . allege facts that support

each element of the claim advanced.” Cepada v. Bd. of Educ. of Baltimore Cnty., 814 F. Supp. 2d

500, 508 (D. Md. 2011) (Judge Quarles) (citing Bass v. E.I. Dupont de Nemours & Co., 324 F.3d

761, 764-65 (4th Cir. 2003)).

               The purpose of a motion to dismiss pursuant to Federal Rule 12(b)(6) is to test the

sufficiency of a complaint. Presley v. City of Charlottesville, 464 F.3d 480, 483 (4th Cir. 2006).

A sufficient showing requires something more than “blanket assertions” that the plaintiff is entitled

to relief. Bell Atl. Corp. v. Twombly, 550 U.S. 544, 555 n.3 (2007). To survive a motion to dismiss

under this standard, a complaint must consist of more than “a formulaic recitation of the elements




3
 As required, the Statement of Facts in this Memorandum in Support of Defendants’ Motion to
Dismiss presumes the truth of the allegations in Plaintiff’s Amended Complaint.
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of a cause of action” or “naked assertion[s] devoid of further factual enhancement.” Iqbal, 556

U.S. at 678.

                 When considering a 12(b)(6) motion to dismiss, this Court must “accept the well-

pled allegations of the complaint as true,” and construe all factual allegations in the light most

favorable to the plaintiff. Ibarra v. United States, 120 F.3d 472, 474 (4th Cir. 1997). This Court,

however, is not required to accept unsupported legal allegations, legal conclusions couched as

factual allegations, or “unwarranted inferences, unreasonable conclusions or arguments.”

Giarratano v. Johnson, 521 F.3d 298, 302 (4th Cir. 2008). Nor is this Court required to accept

conclusory factual allegations lacking reference to actual events. Randolph v. ADT Sec. Servs.,

Inc., 701 F. Supp. 2d 740, 743 (D. Md. 2010) (Chasanow, J.) (citations omitted). Iqbal and

Twombly, therefore, require that Plaintiff’s Amended Complaint set forth facts sufficient to “state

a claim to relief that is plausible on its face.” Twombly, 550 U.S. at 570; Iqbal, 556 U.S. at 678.

                 Rule 12(b)(1) of the Federal Rules of Civil Procedure governs motions to

dismiss for failure to exhaust administrative remedies, which deprives the court of subject

matter jurisdiction. Clarke v. Dyncorp Int’l LLC, 2013 U.S. Dist. LEXIS 117546, at *9-10 (D.

Md. Aug. 20, 2013) (Judge Motz) (citation omitted).

III.   LEGAL ANALYSIS

               The Court Should Dismiss Plaintiff’s Retaliation And Sexual Orientation Claims
               Because They Exceed The Scope Of Plaintiff’s EEOC Charge.
                 The Court should dismiss Plaintiff’s retaliation claim and sexual orientation claims

against FedEx because they are beyond the scope of Plaintiff’s EEOC charge, which makes no

reference to retaliation or sexual orientation discrimination, nor does it include allegations

supporting the reasonable inference of such conduct. See Balas v. Huntington Ingalls Inds., 711

F.3d 401, 407-08 (4th Cir. 2013) (“In determining what claims a plaintiff properly alleged before


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the EEOC, [courts] may look only to the charge filed with that agency.”); see also Ward v. STG

Int’l, Inc., 2016 U.S. Dist. LEXIS 76934, at *8 (D. Md. June 14, 2016) (Judge Grimm) (citations

omitted) (dismissing racial discrimination claim that was not part of administrative claim);

Williams v. Balt. Cty., 2016 U.S. Dist. LEXIS 32124, at *36-38 (D. Md. Mar. 11, 2016) (citations

omitted) (Judge Hollander) (same). Since the MFEPA is the state analogue of Title VII, these

federal cases interpreting Title VII guide interpretation of the MFEPA. Davenport, 38 F. Supp.

3d at 691.

               Plaintiff’s EEOC charge is entirely devoid of any reference to retaliation. The

“Retaliation” box is not checked. Ex. 1. Furthermore, the section of the Charge headed “THE

PARTICULARS ARE” contains absolutely no reference either to the term “retaliation” or to any

conduct that Plaintiff contends constituted retaliation. Id. To be clear, Plaintiff’s Amended

Complaint alleges that Plaintiff’s discharge constituted retaliation. Plaintiff alleges that he was

discharged on or about March 20, 2017 before he filed the EEOC charge on May 11, 2017

(Amended Complaint at ¶ 23; Ex. 1), there is no allegation of any other protected activity, and the

Amended Complaint makes no allegation that the filing of the charge led to any retaliation (and

could not have since Plaintiff was discharged before it was filed) (Amended Complaint at ¶ 23).

The retaliation claim must fail because there is no retaliation if the alleged materially adverse

action occurred before Plaintiff engaged in protected activity. See Hall v. Greystar Mgmt. Servs.,

L.P., 637 F. App’x 93, 98 (4th Cir. 2016) (retaliatory conduct must come after protected activity);

Nichols v. Comcast Cablevision of Md., 84 F. Supp. 2d 642, 657-58 n.21 (D. Md. 2000) (Judge

Nickerson) (same). The Court should dismiss Plaintiff’s retaliation claim. See Coleman v. Md.

Ct. of Appeals, 626 F.3d 187, 190 (4th Cir. 2010), aff’d 566 U.S. 30 (2012) (retaliation claim




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requires sufficient allegations of protected activity, materially adverse action, and causal

connection).

               Plaintiff’s entire charge also is devoid of any reference to sexual orientation

discrimination. Indeed, Plaintiff is very specific as to the type of discrimination he is alleging: (“I

believe that I have been discriminated against due to my sex (Gender Identity/Transgender)….”

(Emphasis Added). Thus, the Court should dismiss Plaintiff’s sexual orientation discrimination

claim because his charge only alleges sex discrimination (gender identity/transgender).

IV.    CONCLUSION

               For the reasons set forth above, FedEx respectfully request that the Court dismiss

Plaintiff’s retaliation and sexual orientation claims.

                                               Respectfully submitted,


                                               FEDEX FREIGHT, INC.

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                                 CERTIFICATE OF SERVICE

       I hereby certify that on the 16th of February 2018, a copy of the foregoing Memo of Points

and Authorities in Support of Defendant FedEx Freight, Inc’s Partial Motion to Dismiss Plaintiff’s

Amended Complaint was filed electronically. Service of this filing will be made on all ECF-

registered counsel by operation of the court's electronic filing system. Parties may access this

filing through the court's system.


                                                    /s/ Timothy S. Bland
                                                    Timothy S. Bland


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